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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                       Case No. 07-cr-45-PB

Dana Ragonese, et al.



                                O R D E R



     The defendant, through counsel, has moved to continue the

January 8, 2008 trial in the above case, citing the need for

additional time to complete a further psychological evaluation to

determine competency and prepare for trial.         The government and

co-defendant, John Douglas, do not object to a continuance of the

trial date.

     Accordingly, for the above reason and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from January 8, 2008 to May 6, 2008.             In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The December 20, 2007 final pretrial conference is continued

to April 23, 2008 at 4:15 p.m.

      SO ORDERED.


                                         /s/Paul Barbadoro
                                         Paul Barbadoro
                                         United States District Judge

December 14, 2007

cc:   Glenn Geiger, Esq.
      Harry Batchelder, Esq.
      Bjorn Lange, Esq.
      Peter Papps, Esq.
      R. Brian Snow, Esq.
      United States Probation
      United States Marshal




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